         Case MDL No. 3076 Document 87-1 Filed 04/17/23 Page 1 of 1




                       BEFORE THE UNITED STATES
              JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   IN RE: FTX Cryptocurrency Exchange                     MDL Docket 3076
   Collapse Litigation


                           SCHEDULE OF ACTIONS

      Case Captions              Court           Civil Action No.          Judge

Plaintiff:                   United States        1:23-cv-21023     Chief Judge Cecilia M.
    • Edwin Garrison       District Court for                              Altonaga
    • Gregg Podalsky         the Southern
    • Skyler Lindeen       District of Florida
    • Alexander
        Chernyavsky
    • Sunil Kavuri
    • Gary Gallant
    • David Nicol

Defendant:
   • Kevin Paffrath
   • Graham Stephan
   • Andrei Jikh
   • Jaspreet Singh
   • Brian Jung
   • Jeremy Lefebvre
   • Tom Nash
   • Ben Armstronga
   • Erika Kullberg
   • Creators Agency
